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10                             UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12
13
14     SECURITIES AND EXCHANGE                         Case No. 2:21-cv-7339
15     COMMISSION,
16                      Plaintiff,                     COMPLAINT
17              vs.
18     SHE BEVERAGE COMPANY, INC.,
19     LUPE L. ROSE, SONJA F. SHELBY
       AND KATHERINE E. DIRDEN,
20
                        Defendants.
21
22
23
24         Plaintiff Securities and Exchange Commission (“SEC”) alleges:
25                                   JURISDICTION AND VENUE
26         1.         The Court has jurisdiction over this action pursuant to Sections 20(b),
27   20(d)(1) and 22(a) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§
28   77t(b), 77t(d)(1) & 77v(a), and Sections 21(d)(1), 21(d)(3)(A), 21(e) and 27(a) of the
      COMPLAINT                                       1
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 1 Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78u(d)(1),
 2 78u(d)(3)(A), 78u(e) & 78aa(a).
 3          2.     Defendants have, directly or indirectly, made use of the means or
 4 instrumentalities of interstate commerce, of the mails, or of the facilities of a national
 5 securities exchange in connection with the transactions, acts, practices and courses of
 6 business alleged in this complaint.
 7          3.     Venue is proper in this district pursuant to Section 22(a) of the Securities
 8 Act, 15 U.S.C. § 77v(a), and Section 27(a) of the Exchange Act, 15 U.S.C. § 78aa(a),
 9 because certain of the transactions, acts, practices and courses of conduct constituting
10   violations of the federal securities laws occurred within this district. In addition,
11   venue is proper in this district because Defendants Lupe Rose, Sonja Shelby and
12   Katherine Dirden reside in this district, and Defendant SHE Beverage Company, Inc.
13   has its principal place of business in this district.
14                                          SUMMARY
15          4.     This civil enforcement action involves an offering fraud perpetrated by
16   Defendants SHE Beverage Company, Inc. (“SHE Beverage”) and its principals Lupe
17   L. Rose, Sonja F. Shelby and Katherine E. Dirden. Located in Lancaster, California,
18   SHE Beverage produces beverages targeting female customers. Between 2017 and
19   2019, SHE Beverage raised over $15 million from unregistered stock sales to more
20   than 2,000 investors from across the country. SHE Beverage and its principals
21   falsely represented to investors that they would use 30% of the offering proceeds to
22   purchase beverage inventory. In fact, they spent only approximately 2% of the
23   monies they raised on beverages. In the meantime, they misappropriated roughly half
24   the offering proceeds—at least $7.5 million—in cash withdrawals and to pay personal
25   expenses such as cars and trucks, rent, luxury retail goods, and trips to casinos.
26          5.     Defendants carried out their aggressive fund-raising by falsely
27   promoting the company as being successful in a variety of ways. Defendants
28   overstated and mischaracterized the revenues earned by the company since its
       COMPLAINT                                      2
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 1 inception. Defendants claimed the company had launched its own brewery, whereas
 2 it had not even completed its construction. They falsely touted the company’s bottled
 3 water as “proprietary” and “FDA approved,” when it was neither. Defendants
 4 claimed the company had received acquisition offers in the hundreds of millions of
 5 dollars; in reality, it had no such offers. The principals claimed to have millions of
 6 their own money invested in the company, whereas their investments were much
 7 more modest. They frequently represented that the company’s planned initial public
 8 offering (“IPO”) was imminent, when they had not yet even filed a registration
 9 statement with the SEC. They touted the acquisition of a cannabis-related company,
10   concealing that it was obtained from affiliates (sisters of one of the Defendants) with
11   no independent valuation, and had no operations or sales.
12         6.     SHE Beverage’s fraudulent stock offering was not registered with the
13   SEC; thus investors lacked important information about the company’s financial
14   condition. Defendants raised money from thousands of investors in numerous states,
15   including from unaccredited investors. The company engaged in general solicitation
16   over the internet and solicited investors to deposit by cash, checks, credit cards and
17   electronic payment processor, at times offering referral, two-for-one, and other
18   bonuses, and frequently hyping investors’ last chance to invest pre-IPO. The only
19   Form S-1 registration statement ever filed by the Defendants, in January 2020, never
20   went effective and was declared abandoned in 2021.
21         7.     By their conduct, Defendants violated Sections 5 and 17(a) of the
22   Securities Act, 15 U.S.C. §§ 77(e)(a), 77(e)(c), 77q(a), and Section 10(b) of the
23   Exchange Act, 15 U.S.C. § 78j(b) and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-
24   5(a)-(c).
25         8.     The SEC seeks findings that the Defendants committed these violations;
26   permanent injunctions, disgorgement with prejudgment interest, civil penalties, and
27   against Defendants Rose, Shelby, and Dirden, officer and director bars.
28
      COMPLAINT                                    3
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 1                                   THE DEFENDANTS
 2         9.      SHE Beverage Company, Inc. (“SHE Beverage”), is a California
 3 corporation, which was incorporated in or about 2015, with its principal place of
 4 business in Lancaster, California. SHE Beverage promotes itself primarily as a
 5 beverage company targeted at female consumers, along with several additional lines
 6 of business. SHE Beverage has never been registered with the SEC in any capacity,
 7 has never had a class of securities registered with the SEC, and its securities have
 8 never been publicly traded. SHE Beverage is controlled by Defendants Rose, Shelby
 9 and Dirden.
10         10.     Lupe L. Rose (“Rose”), 52, lives in Palmdale, California and holds
11   herself out as SHE Beverage’s co-founder, owner, chief executive officer (“CEO”),
12   president and chair of the board of directors. Rose has never been registered with the
13   SEC in any capacity and has never held any securities licenses.
14         11.     Sonja F. Shelby (“Shelby”), 58, lives in Palmdale, California and holds
15   herself out as SHE Beverage’s co-founder, owner, vice president, treasurer, vice
16   chair, chief financial officer (“CFO”), principal financial officer, and member of the
17   board of directors. Shelby has never been registered with the SEC in any capacity
18   and has never held any securities licenses.
19         12.     Katherine E. Dirden (“Dirden”), 46, lives in Lancaster, California and
20   holds herself out as SHE Beverage’s chief operations officer (“COO”), investor
21   relations director, and a member of the board of directors. Dirden has never been
22   registered with the Commission in any capacity and has never held any securities
23   licenses.
24                                  THE ALLEGATIONS
25         A.      SHE Beverage and its Principals
26         13.     Rose and Shelby co-founded and began working on the concept for SHE
27   Beverage in or around 2009; Rose subsequently incorporated SHE Beverage in or
28   about 2015.
      COMPLAINT                                    4
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 1         14.    In or around February 2016, SHE Beverage hired Dirden as its COO.
 2         15.    SHE Beverage was promoted primarily as a women-owned beverage
 3 manufacturer, selling beer and other brewed drinks, wine, and bottled water, aimed at
 4 female consumers.
 5         16.    SHE Beverage’s offering documents identify Rose as the co-founder,
 6 owner, chief executive officer, president and chair of the board of directors.
 7         17.    SHE Beverage’s offering documents identify Shelby as the co-founder,
 8 owner, vice president, treasurer, vice chair, chief financial officer, principal financial
 9 officer, and member of the board of directors.
10         18.    SHE Beverage’s offering documents identify Dirden as the chief
11   operations officer, investor relations director, and a member of the board of directors.
12         19.    As its most senior executive, Rose had ultimate decision-making
13   authority for SHE Beverage. During the relevant period, Rose exercised day-to-day
14   control over SHE Beverage, including meeting with beverage manufacturers,
15   purchasing inventory, and marketing and delivering product. Along with Shelby and
16   Dirden, Rose was a member of SHE Beverage’s three-person executive team.
17         20.    Although SHE Beverage identified her as the CFO and treasurer,
18   Shelby’s primary responsibilities during the relevant period were for human resources
19   and other administrative duties. Along with Rose and Dirden, Shelby was a member
20   of SHE Beverage’s three-person executive team.
21         21.    Dirden functioned as SHE Beverage’s chief operating officer, including
22   selling product and taking care of internal reporting systems. During the relevant
23   period, Dirden had primary responsibility for investor relations, including answering
24   questions of prospective and actual investors about SHE Beverage’s offering. Along
25   with Rose and Shelby, Dirden was a member of SHE Beverage’s three-person
26   executive team.
27         22.    Rose, Shelby and Dirden are all signatories on the company’s bank
28   accounts.
      COMPLAINT                                     5
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 1         23.     SHE Beverage’s website addresses during the relevant period included:
 2                http://www.shebeverages.com
 3                 and
 4                http://sheinvestmentguide.com.
 5         24.     During the relevant period, Defendants utilized the following email
 6 addresses:
 7                Rose: lupe@shebeverages.com, luperosetheceo@gmail.com,
 8                Shelby: sonjashelby@vahoo.com, sonja@shebeverages.com,
 9                 sshelby@sheverages.com,
10                       and
11                Dirden: kat@shebeverages.com.
12         B.      Defendants’ Offer and Sale of Securities
13         25.     Between 2017 and 2019, SHE Beverage raised over $15 million from
14   more than 2,000 investors nationwide.
15         26.     SHE Beverage issued securities in the form of shares of SHE Beverage.
16         27.     Investors purchased shares from SHE Beverage through a variety of
17   means, including cashier’s checks, personal checks, wires, credit cards, transactions
18   through PayPal, cash or by deposits directly into SHE Beverage’s bank account.
19         28.     SHE Beverage offered and sold securities using offering memoranda,
20   investment guides, its websites, emails, and verbal communications.
21         29.     Between approximately October 2017 and mid-June 2018, SHE
22   Beverage offered and sold its shares through an offering memorandum (the “2017
23   OM”).
24         30.     SHE Beverage utilized an outside consultant to prepare the 2017 OM.
25         31.     The 2017 OM offered shares of SHE Beverage’s common stock at $2.50
26   per share.
27         32.     The 2017 OM included a cover letter and subscription agreement. The
28   subscription agreement requested prospective investors to provide information as to
      COMPLAINT                                     6
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 1 their status as an accredited investor.
 2         33.    SHE Beverage provided the 2017 OM to prospective investors during in-
 3 person meetings.
 4         34.    Beginning in or about mid-June 2018, SHE Beverage offered and sold
 5 stock to investors through a private placement memorandum dated June 20, 2018 (the
 6 “2018 PPM”).
 7         35.    Rose, Shelby and Dirden worked with an outside consultant to prepare
 8 the 2018 PPM.
 9         36.    The 2018 PPM offered up to $25 million of SHE Beverage’s common
10   stock at $2.50 per share.
11         37.    The 2018 PPM stated that the shares were exempt from registration
12   under Securities Act Sections 3(b), 4(2), and Rule 506 thereunder, and that
13   prospective investors were required to meet “suitability standards” set forth in the
14   2018 PPM.
15         38.    SHE Beverage provided the 2018 PPM to prospective investors during
16   in-person meetings or by email.
17         39.    Rose, Shelby and Dirden reviewed the 2018 PPM before it was provided
18   to investors, including the disclosures on the use of proceeds.
19         40.    SHE Beverage also solicited investors using a 2018 SHE Beverage
20   Investment Guide and Corporate Update (the “2018 Investment Guide”).
21         41.    Rose created the 2018 Investment Guide and it was distributed at
22   investor meetings along with the 2018 PPM.
23         42.    During SHE Beverage’s offering, the 2018 PPM and the 2018
24   Investment Guide were available on SHE Beverage’s websites.
25         43.    The 2018 Investment Guide included a “New Member Welcome Letter”
26   signed by Rose, Shelby and Dirden.
27         44.    SHE Beverage also solicited investors using a 2019 SHE Brand
28   Beverage Investment Guide (the “2019 Investment Guide”).
      COMPLAINT                                    7
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 1         45.    The 2019 Investment Guide was available on SHE Beverage’s website
 2 from at least May 2019 to December 2019.
 3         46.    Rose assisted with the preparation of the 2019 Investment Guide, and
 4 Rose and Dirden knew it was accessible on the company’s website.
 5         47.    SHE Beverage publicly offered its securities to investors through its
 6 websites through at least December 2019.
 7         48.    SHE Beverage’s website included a section titled “Why You Should
 8 Invest In Our Beverage Company” with a link to two letters from Rose, Shelby and
 9 Dirden.
10         49.    The SHE Investment Guide website promoted that the company was
11   accepting investments and provided a link to the 2018 PPM.
12         50.    Beginning in or around December 2017 and throughout the offering,
13   SHE Beverage sent email messages to existing investors approximately once a
14   month. The messages promoted additional investment in SHE Beverage and included
15   information about SHE Beverage’s securities offering.
16         51.    The investor email messages were formatted as letters to investors with
17   signatures variously from “the SHE Beverage Team” or individually from Rose or
18   Dirden.
19         52.    For example, in or around the end of December 2018, in an email to
20   investors signed “SHE Beverage Executive Team,” SHE Beverage promoted a
21   “Limited Time Offer” to purchase two for one shares, noting that Rose, Shelby and
22   Dirden wanted to “provide our current investors one final amazing opportunity” to
23   invest at this price, through early January 2019.
24         53.    As another example, in one 2019 email signed by Rose, SHE Beverage
25   promoted a “new minimum level of investment of $1,000 at $2.50 per share…[for]
26   new and existing investors,” and that investors could “invest an ADDITIONAL
27   investment” of at least $1,000 to obtain a chance to win a free trip.
28         54.    In another email dated on or about April 24, 2019, signed by Rose, SHE
      COMPLAINT                                     8
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 1 Beverage promoted the opportunity to “purchase at a discounted rate” and “refer
 2 friends and family.”
 3         55.    In another email dated on or around November 10, 2019, signed by
 4 Rose, SHE Beverage promoted the opportunity to invest $50,000 and receive
 5 “advisory board shares,” stating, “can you imagine when we open larger or grow to
 6 50 dollars a share?”
 7         56.    In another email dated in or around 2019, Dirden wrote that SHE
 8 Beverage was “still fund-raising during this process so please continue to send us
 9 anybody interested in investing or if you’d like to add to you (sic) portfolio please
10   feel free to do so,” directing prospective investors to contact her with any questions.
11         57.    Rose approved the investor messages for distribution, and Dirden sent
12   them out.
13         58.    Between approximately 2018 and 2019, SHE Beverage hosted three to
14   four in-person investor meetings a year, attended by SHE Beverage’s principals and
15   prospective and actual investors. Some investor meetings were streamed to out-of-
16   town investors.
17         59.    With Shelby and Dirden in attendance, Rose ran the investor meetings
18   and presented at them.
19         60.    At the investor meetings, SHE Beverage updated investors about the
20   business and provided its beverage products for sampling.
21         61.    At the investor meetings, SHE Beverage made available its offering
22   materials, including the 2018 PPM and the 2018 Investment Guide.
23         62.    During SHE Beverage’s offering, Rose and Dirden each directly
24   solicited investors.
25         63.    For example, on or about August 6, 2018, Rose hosted a “meet & greet”
26   for new investors to discuss the Investment Guide.
27         64.    Dirden spoke to prospective and actual investors to answer questions
28   about the offering, and was identified as the person to contact with inquiries.
      COMPLAINT                                    9
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 1          65.    Defendants initially solicited friends and family to invest.
 2 Subsequently, they began soliciting friends and family of their investors, and engaged
 3 in a general solicitation of investors for SHE Beverage’s offering.
 4          66.    SHE Beverage offered referral bonuses, in the form of additional shares,
 5 for investors who brought in additional investors to SHE Beverage.
 6          67.    SHE Beverage’s offering was nationwide with more than 2,000 investors
 7 who live in at least 38 states, and Guam, Puerto Rico, and Washington, D.C.
 8          C.     Defendants’ Fraudulent Scheme and Material Misrepresentations
 9                 and Omissions
10          68.    SHE Beverage and its principals engaged in a scheme to defraud and
11    made material misrepresentations and omissions to prospective and actual investors
12    during the offering.
13          69.    SHE Beverage was the maker of the statements in its offering
14    memoranda, investment guides, websites, press releases, and investor emails.
15          70.    As SHE Beverage’s principals with day-to-day control over its
16    operations and disclosures, Rose, Shelby, and Dirden were makers of the statements
17    in SHE Beverage’s offering memoranda, investment guides, websites, press releases,
18    and investor emails.
19          71.    Rose, Shelby and Dirden each directly made and signed their names on
20    statements to investors, including signing the investment guides, signing investor
21    emails as the executive team, and for Rose and Dirden, signing investor emails
22    individually. Rose was also listed as the contact on SHE Beverage’s press releases.
23                 1.    Defendants’ misuse and misappropriation of investor proceeds
24          72.    SHE Beverage and its principals misused investor proceeds by utilizing
25    only 2% of investor funds to purchase beverage inventory, contrary to the disclosures
26    in SHE Beverage’s offering materials.
27          73.    Additionally, Defendants misappropriated investor funds by spending
28    millions on personal expenses and cash withdrawals, far in excess of any disclosed
       COMPLAINT                                    10
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 1 amounts of salary or compensation to the principals.
 2          74.    SHE Beverage’s 2017 OM represented that the “proceeds of the offering
 3 will be used for the Company’s Business Plan and management has retained
 4 discretion to use the proceeds according to the Use of Proceeds of the Offering and
 5 for other related uses.”
 6          75.    The 2017 OM did not include either a business plan or a use of proceeds
 7 section, but described the business as “selling high quality beverages with a focus on
 8 elite branding and brand management.”
 9          76.    SHE Beverage’s 2018 PPM included a use of proceeds section:
10
                                        USE OF PROCEEDS
11           Amount                              Item                     Percentage
            $12,500,000       Working Capital/Operating Expenses             50%
12          $7,500,000        Inventory                                      30%
13          $5,000,000        Sales, Marketing, Salaries                     20%
            $25,000,000       Total                                         100%
14
15          77.    The 2018 PPM thus represented that approximately 30% of offering

16    proceeds, or approximately $4.5 million (representing 30% of the offering proceeds

17    actually raised), would be used on inventory.

18          78.    During SHE Beverage’s offering, Defendants reiterated the intended

19    uses of investor proceeds in other documents provided to investors.

20          79.    For example, the 2018 Investment Guide included descriptions of the

21    company and its beverage products, stating that the company would “create an elite

22    line that will not only dominate the Beverage Industry, but also change the way we

23    drink one SIP at a time.” The 2018 Investment Guide further stated that “owner

24    funding and further investor generated cash flow will enable the expansion plan.”

25          80.    Similarly, the 2019 Investment Guide featured descriptions of SHE

26    Beverage’s beverage products and explained that “the goal is to raise 1 billion dollars

27    to grow the brand.”

28          81.    Contrary to its representations to investors, between 2015 and 2021,

       COMPLAINT                                     11
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 1 SHE Beverage spent only approximately $321,971 on beverage inventory, or
 2 approximately 2% of the offering proceeds, as follows:
 3                 (a)   from 2015 to 2019, SHE Beverage paid approximately $195,375
 4 to three breweries to brew craft beer and hard punch for retail sale under the SHE
 5 Beverage brand name;
 6                 (b)   from 2018 to 2021, SHE Beverage paid approximately $71,550 to
 7 a California distributor for its proprietary alkaline, electrolyte, purified and spring
 8 bottled waters for retail sale under the SHE Beverage brand name;
 9                 (c)   in or around 2019, SHE Beverage paid approximately $26,007 to
10    a Florida distributor for its CBD bottled water to sell under the SHE Beverage brand
11    name; and
12                 (d)   in or around 2019, SHE Beverage paid approximately $29,039 for
13    a Lancaster winery to create a private-label rosé wine.
14          82.    Given the limited amounts spent on beverage inventory during the
15    offering, Defendants’ representations that they would use 30% of investor proceeds
16    on inventory were materially false and misleading.
17          83.    Defendants did not disclose to investors that their purchases of inventory
18    were materially lower than the offering materials represented.
19          84.    Reasonable investors would have found it important to their investment
20    decision to know that Defendants were not purchasing the amounts of inventory the
21    offering materials represented, which would necessarily impact the potential sales of
22    SHE Beverage product.
23          85.    Defendants Rose, Shelby and Dirden knew, or were reckless in not
24    knowing, that SHE Beverage was misusing investor funds by not purchasing
25    beverage inventory consistent with their representations to investors.
26          86.    In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
27    care as to SHE Beverage’s use of investor funds, by not purchasing beverage
28    inventory consistent with their representations to investors.
       COMPLAINT                                   12
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 1          87.   Rose, Shelby and Dirden also misappropriated investor funds.
 2          88.   The 2017 OM did not disclose that any proceeds would be used for
 3 executive compensation.
 4          89.   The 2018 PPM represented that approximately 20% of the offering
 5 proceeds, or $3 million (representing 20% of the $15 million of offering proceeds
 6 actually raised), would be used for sales, salaries and marketing.
 7          90.   However, between 2016 and 2021, Rose, Shelby and Dirden took out at
 8 least $7.5 million in investor proceeds, as follows:
 9                (a)    approximately $6 million in cash withdrawals and transfers to
10    Rose, Shelby and Dirden’s personal bank accounts;
11                (b)    approximately $1.2 million spent at casinos;
12                (c)    approximately $180,000 to purchase 8 cars and trucks for personal
13    use and for payment of a title loan on Shelby’s Porsche;
14                (d)    approximately $100,000 in payments for the lease on the house
15    occupied by Rose and Shelby; and
16                (e)    approximately $50,000 in purchases from luxury clothing retailers
17    such as Gucci and Louis Vuitton.
18          91.   The amounts Rose, Shelby and Dirden received from the offering
19    proceeds materially exceeded the amount allocated for the entire company’s sales,
20    salary and marketing expenses in the 2018 PPM.
21          92.   Investors were not told that SHE Beverage’s principals would use
22    investor money for their personal expenses.
23          93.   Reasonable investors would have found it important to their investment
24    decision to know that SHE Beverage’s principals used roughly half of all proceeds to
25    pay their personal expenses and for cash withdrawals.
26          94.   Defendants Rose, Shelby and Dirden knew, or were reckless in not
27    knowing, that they were misappropriating investor funds.
28          95.   In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
       COMPLAINT                                    13
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 1 care as to their expenditures of investor funds.
 2                 2.      Defendants falsely represented the amount of revenues earned
 3                         from product sales
 4          96.    The 2018 PPM represented that “[t]he Company is a relatively new
 5 venture, which has generated approximately $4-5 million dollars in revenue and has
 6 an average profit margin of 40% across the span of its product lines.”
 7          97.    The product lines identified in the 2018 PPM were beer and bottled
 8 water.
 9          98.    The PPM 2018 PPM did not identify events as a source of revenues.
10          99.    The statement that the company had generated $4-5 million dollars in
11    revenue was false.
12          100. As of the end of fiscal year 2018, SHE Beverage had sold less than
13    $263,000 of merchandise.
14          101. SHE Beverage’s audited financial statements, disclosed for the first time
15    to investors with the company’s January 2020 Form S-1 filed with the SEC, stated
16    that the company had only the following revenues as of December 31, 2017 and
17    December 31, 2018:
18
                  REVENUE             Year ended Dec. 31, 2018   Year ended Dec. 31, 2017
19
20       Event revenue                             $1,628,875                 $1,569,690
21       Merchandise revenue                          $110,324                  $152,670
22
         Total revenue                             $1,729,199                 $1,722,360
23
24          102. The company did not have $4-5 million in revenues in 2018, and of the
25    revenues it had, more than 90% was from event rentals, rather than any product sales.
26          103. Reasonable investors would have found it important to their investment
27    decision to know that SHE Beverage’s revenues did not approach the $4-5 million
28    described to investors, and that the revenues it did have came overwhelmingly from

       COMPLAINT                                   14
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 1 events.
 2          104. Defendants Rose, Shelby and Dirden knew, or were reckless in not
 3 knowing, that the company’s statements of earned revenues were materially
 4 overstated and omitted the source of the majority of the company’s revenues.
 5          105. In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
 6 care as to their statements of revenues purportedly earned by SHE Beverage.
 7                 3.    Defendants falsely depicted the status of SHE Beverage’s
 8                       brewery
 9          106. In or around 2018 through 2020, SHE Beverage falsely promoted to
10    prospective and actual investors that it had opened and was operating a brewery for
11    its alcoholic beverages.
12          107. For example, in or around October 2018, SHE Beverage sent an email
13    message to its existing investors promoting the “grand opening” of its Lancaster
14    brewery.
15          108. As another example, on or about December 11, 2018, SHE Beverage
16    issued a press release titled “SHE Beverage Company, Inc. Announces Acquisitions,
17    Re-Brandings, and Public Offering.”
18          109. In the December 11, 2018 press release, SHE Beverage claimed that its
19    locations included “a brewery and manufacturing site.”
20          110. The December 11, 2018 press release also stated that:
21                 SHE Beverage Company has grown its brand to
22                 unbelievable heights within the last four years. Opening its
23                 10,000 square foot brewery in Lancaster CA…” (emphasis
24                 added).
25          111. SHE Beverage repeated the description of its purported brewery in seven
26    additional press releases, from January 2019 through January 2020.
27          112. Additionally, in press releases issued on or about January 22, 2019 and
28    March 26, 2019, SHE Beverage described itself as “the female-owned and operated
       COMPLAINT                                  15
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 1 craft beer brewery...” and the “female-owned and renowned craft beer brewery…”
 2          113. The 2019 Investment Guide listed a brewery as among SHE Beverage’s
 3 assets.
 4          114. SHE Beverage’s Form S-1 filed in January 2020, however, revealed that
 5 the company was “currently in process of constructing a brewery….”
 6          115. Contrary to its representations, SHE Beverage has never had an
 7 operational brewery.
 8          116. The only beer SHE Beverage sold to consumers came from contract
 9 brewers.
10          117. As of at least January 2021, SHE Beverage had not installed the brewery
11    equipment it had purchased.
12          118. SHE Beverage had not, as of at least January 2021, completed the
13    construction of the brewery.
14          119. SHE Beverage had not, as of at least January 2021, obtained a certificate
15    of occupancy for the brewery.
16          120. Other than test batches, as of January 2021, SHE Beverage had not
17    brewed any beverages at the site of its planned brewery.
18          121. In January 2021, the California Department of Alcoholic Beverage
19    Control indefinitely suspended SHE Beverage’s small beer manufacturer license
20    because, among other reasons, SHE Beverage had not engaged in commercial beer
21    manufacturing.
22          122. Reasonable investors would have found it important to their investment
23    decision to know that SHE Beverage’s brewery was not yet constructed, nor
24    operational.
25          123. Defendants Rose, Shelby and Dirden knew, or were reckless in not
26    knowing, that the company’s statements regarding the status of its brewery were false
27    and misleading.
28          124. In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
       COMPLAINT                                  16
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 1 care as to SHE Beverage’s statements regarding the status of its purported brewery.
 2                4.     Defendants misrepresented the status of SHE Beverage’s
 3                       “proprietary” water formula
 4          125. Defendants falsely represented in the 2018 PPM that SHE Beverage sold
 5 bottled water made with a proprietary formula that cured cancer and spina bifida, had
 6 other health benefits (for heart health, fertility, aging, anxiety, PMS, and menopause)
 7 and was approved by the FDA.
 8          126. The 2018 Investment Guide also claimed that the company used a
 9 “proprietary process [that] allow[ed it] to transform water from any source…”
10          127. Rose repeated these claims in a recorded investor meeting on or about
11    June 2, 2019.
12          128. Contrary to Defendants’ representations, the bottled water sold under the
13    SHE Beverage private label was not proprietary and was not FDA-approved.
14          129. Prior to 2017, SHE Beverage purchased bottled water and antioxidant
15    shots from a third party contractor, but neither product was sold to consumers.
16          130. After 2017, SHE Beverage purchased bottled water from third party
17    distributors, to sell as SHE Beverage-branded product.
18          131. SHE Beverage did not make and sell its own proprietary water, but
19    purchased commercially available bottled water from distributors for resale.
20          132. SHE Beverage’s bottled water has never had FDA approval.
21          133. Reasonable investors would have found it important to their investment
22    decision to know that SHE Beverage’s water was not proprietary and did not have
23    FDA approval.
24          134. Defendants Rose, Shelby and Dirden knew, or were reckless in not
25    knowing, that the company’s statements regarding the nature and status of its bottled
26    water were false and misleading.
27          135. In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
28    care as to their statements regarding the nature and status of SHE Beverage’s bottled
       COMPLAINT                                  17
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 1 water.
 2                 5.     Defendants misrepresented the acquisition offers received for
 3                        SHE Beverage
 4          136. In or around 2018, SHE Beverage represented to investors that it had
 5 received acquisition offers ranging from $120 million to $500 million.
 6          137. For example, the 2018 Investment Guide stated: “Alongside SHE
 7 Beverage Company’s current growth, and public attention we know based upon
 8 recent offers to buy our brand (which range from 120 Million to 500 Million) that
 9 SHE Beverage Company’s ‘Public Announcement’ will deliver the expectation to
10    catapult our stock to a billion-dollar offer.”
11          138. On or about June 2, 2019, Rose touted the acquisition offers at a
12    recorded investor meeting, identifying the $120 million offer as coming from a global
13    spirits company (“Beverage Company A”) and the $500 million offer as coming from
14    a multilevel marketing company (“Network Marketing Company B”).
15          139. Defendants’ statements concerning the purported offers to acquire SHE
16    Beverage were false.
17          140. Beverage Company A never made an offer or engaged in substantive
18    negotiations to acquire SHE Beverage.
19          141. Network Marketing Company B has no record of any association or
20    communication with SHE Beverage, including of any offer to acquire SHE Beverage.
21          142. Reasonable investors would have found it important to their investment
22    decision to know that SHE Beverages had not received offers in the hundreds of
23    millions of dollars from these two companies.
24          143. Defendants Rose, Shelby and Dirden knew, or were reckless in not
25    knowing, that the company’s statements regarding acquisition offers received for
26    SHE Beverage were false or misleading.
27          144. In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
28    care as to SHE Beverage’s statements regarding purported acquisition offers.
       COMPLAINT                                       18
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 1                 6.    Defendants overstated the principals’ investments in the
 2                       business
 3          145. The 2019 Investment Guide stated that Rose, Shelby and Dirden had
 4 “personally invested [$]3.7 [m]illion foundational capital to create the brand, refine
 5 its packaging, build a trusted distribution network, and gain first-hand exposure to
 6 several industry barriers that routinely blind-side new brands.”
 7          146. SHE Beverage records show that Rose, Shelby and Dirden invested less
 8 than $200,000.
 9          147. Reasonable investors would have found it important to their investment
10    decision to know that the principals had substantially less money invested in the
11    business as their “skin in the game.”
12          148. Defendants Rose, Shelby and Dirden knew, or were reckless in not
13    knowing, that they were overstating the amount of their personal financial investment
14    in the company.
15          149. In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
16    care with respect to statements of their personal financial investment in the company.
17                 7.    Defendants falsely portrayed the imminence of the company’s
18                       planned initial public offering
19          150. During the offering, SHE Beverage made a series of materially
20    misleading statements regarding the company’s planned IPO, encouraging existing
21    investors to invest additional monies while the company was still “pre-IPO” and the
22    share price was $2.50 per share. Defendants encouraged investors to purchase shares
23    right away, stating that the stock price would be higher after the IPO.
24          151. Defendants repeatedly created the false appearance that the company’s
25    IPO was imminent, variously, within days, weeks or months, as a means to encourage
26    prospective or actual investors to invest their monies.
27          152. For example, on or about February 8, 2018, in an email to investors
28    signed by Rose, SHE Beverage stated that investors who invested “within the next
       COMPLAINT                                   19
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 1 week or so will have the registered shares through the SEC.”
 2           153. As another example, in or about October 2018, in a “notice to
 3 shareholders,” SHE Beverage told investors the “IPO will open at $15.00, that’s
 4 right! $15…,” encouraging existing shareholders to buy stock at $2.50/share and refer
 5 friends and family to purchase at $5.00/share.
 6           154. As another example, on or about March 26, 2019, SHE Beverage issued
 7 a press release stating that it was “[d]ays away from its public offering.”
 8           155. As another example, on or about April 24, 2019, a SHE Beverage email
 9 to investors, signed by Rose, stated that the company was “days away from ringing
10    that bell.”
11           156. As another example, on or about May 14, 2019, a SHE Beverage email
12    to investors stated that “market opening day” was “drawing near,” and that investors
13    had their “final opportunity” to purchase shares at $2.50 per share.
14           157. On or about August 1, 2019, SHE Beverage again announced in a press
15    release that it was “days away from going public and qualifying for NASDAQ.”
16           158. It was not until on or about January 2020, that SHE Beverage first filed a
17    Form S-1 registration statement with the SEC for an initial public offering.
18           159. The audited financial statements filed with SHE Beverage’s Form S-1 on
19    January 2020 only covered the fiscal years 2017 and 2018; the company did not file
20    any audited financial statements for its fiscal year 2019.
21           160. Reasonable investors would have found it important to their investment
22    decision to know that SHE Beverage’s IPO was not as imminent as described.
23           161. Defendants Rose, Shelby and Dirden knew, or were reckless in not
24    knowing, that the company’s statements regarding the imminence of the company’s
25    anticipated IPO were false and misleading.
26           162. In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
27    care as to SHE Beverage’s statements regarding its purportedly imminent IPO.
28
        COMPLAINT                                   20
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 1                 8.        Defendants falsely portrayed SHE Beverage’s acquisition of
 2                           Elite Green
 3          163. On or about September 9, 2018, SHE Beverage acquired Elite Green
 4 Solutions (“Elite Green”), a cannabis-related product company, for a combination of
 5 cash and stock.
 6          164. On or about December 11, 2018, SHE Beverage issued a press release
 7 detailing its “incredible advancements,” including SHE Beverage’s acquisition of
 8 Elite Green, stating that the company had been “rebranded” as “The Pink Leaf.”
 9          165. SHE Beverage also promoted the Elite Green acquisition in investor
10    emails.
11          166. For example, in an email to investors on or about 2019 signed by Rose
12    soliciting additional investments in SHE Beverage, the company touted its plans for
13    Elite Green (re-branded as the Pink Leaf), stating that it “recently hired its growers”
14    for a cannabis grow farm and that it “will begin manufacturing CBD, THC, and
15    Cannabis Products.”
16          167. At the time it was acquired, Elite Green did not have any cannabis
17    licenses or growing facilities and had not sold any product.
18          168. SHE Beverage did not obtain an independent valuation of Elite Green
19    before acquiring it.
20          169. The 2018 PPM stated that the company is “not expected to have
21    significant dealings with affiliates.”
22          170. Prior to its acquisition by SHE Beverage, Elite Green was owned by
23    Shelby’s sisters.
24          171. SHE Beverage’s Form S-1 filed in January 2020 revealed that the Elite
25    Green subsidiary, subsequently renamed “Pink Leaf by SHE,” as of 2020, had “no
26    assets or operations, other than capitalized product formulations purchased by the
27    Company.”
28          172. Defendants failed to disclose to SHE Beverage investors that Elite Green
       COMPLAINT                                    21
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 1 had no revenues, no licenses to sell cannabis and that it was acquired from related
 2 parties without any independent valuation.
 3          173. Reasonable investors would have found it important to their investment
 4 decisions to know that SHE Beverage’s acquisition had no business operations and
 5 had not been independently valued prior to its acquisition, as well as that Elite Green
 6 was acquired from related parties.
 7          174. Defendants Rose, Shelby and Dirden knew, or were reckless in not
 8 knowing, that the company’s disclosures regarding SHE Beverage’s acquisition of
 9 Elite Green were false and misleading.
10          175. In the alternative, Rose, Shelby and Dirden failed to exercise reasonable
11    care as to SHE Beverage’s disclosures regarding its acquisition of Elite Green.
12          D.     SHE Beverage’s Form S-1 Filing
13          176. On or about January 2020, SHE Beverage filed a Form S-1 registration
14    statement with the SEC for an initial public offering.
15          177. The S-1 offered approximately 6.8 million shares at $15 per share.
16          178. Rose, Shelby and Dirden signed the Form S-1 on behalf of SHE
17    Beverage.
18          179. Rose, Shelby and Dirden assisted in preparation of the Form S-1 and
19    reviewed it before it was filed with the SEC.
20          180. Rose, Shelby and Dirden signed a management representation letter to
21    SHE Beverage’s outside auditor for purposes of the financial statements.
22          181. The Form S-1 filing was the first time that SHE Beverage made its
23    audited financial statements available to investors.
24          182. In or about February 2021, the SEC issued an order declaring the
25    registration statement abandoned.
26          E.     Defendants Acted with Scienter and Failed to Exercise Reasonable
27                 Care
28          183. Defendants Rose, Shelby and Dirden acted with scienter, and failed to
       COMPLAINT                                   22
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 1 exercise reasonable care.
 2          184. Rose was SHE Beverage’s most senior executive and had ultimate
 3 decision-making authority for SHE Beverage. She reviewed the disclosures made to
 4 investors during the offering and/or signed her name to them, including the offering
 5 memoranda, the investment guides, press releases, investor emails, and the
 6 company’s Form S-1. She spoke at investor meetings and directly solicited SHE
 7 Beverage’s investors during the offering. She worked directly with the consultant
 8 who assisted in the preparation of SHE Beverage’s offering materials.
 9          185. Shelby was held out as SHE Beverage’s most senior financial officer.
10    She reviewed the disclosures made to investors during the offering and/or signed her
11    name to them, including the offering memoranda, the investment guides, and the
12    company’s Form S-1. She signed SHE Beverage investor emails as a member of
13    SHE Beverage’s executive team. She attended investor meetings where offering
14    materials were provided. She worked directly with the consultant who assisted in the
15    preparation of SHE Beverage’s offering materials.
16          186. Dirden was SHE Beverage’s point of contact for SHE Beverage’s
17    investor relations. She reviewed the disclosures made to investors during the offering
18    and signed her name to them, including the offering memoranda, the investment
19    guides, investor emails, and the company’s Form S-1. She attended investor
20    meetings where offering materials were provided, and directly solicited SHE
21    Beverage’s investors during the offering. She worked directly with the consultant
22    who assisted in the preparation of SHE Beverage’s offering materials.
23          187. Rose, Shelby and Dirden each had access to and control over SHE
24    Beverage’s bank accounts.
25          188. Because Rose, Shelby and Dirden were SHE Beverage’s principals, their
26    scienter and failure to exercise reasonable care are imputed to SHE Beverage.
27          F.    Defendants’ Registration Violations
28          189. SHE Beverage’s offering was not registered with the SEC, and no
       COMPLAINT                                  23
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 1 exemption from registration applied to the offering.
 2          190. SHE Beverage’s 2017 OM and 2018 PPM asked prospective investors to
 3 attest that they were accredited investors.
 4          191. Defendants did not take steps to verify prospective investors’ financial
 5 sophistication or whether they were accredited investors.
 6          192. SHE Beverage engaged in a general solicitation for investors.
 7          193. SHE Beverage’s offering included investors across numerous states.
 8          194. SHE Beverage’s investors included investors who were not accredited
 9 investors.
10          195. Defendants did not provide prospective investors with detailed financial
11    information about the offering prior to their investments.
12          196. As the issuer of its shares, SHE Beverage offered and sold securities to
13    prospective and actual investors.
14          197. Rose, Shelby and Dirden directly offered and sold SHE Beverage
15    securities. Each communicated with investors concerning the offering, individually
16    or as a member of the company’s three-person executive team, by email, in-person, or
17    by phone, and/or attended investor meetings where prospective and actual investors
18    were provided SHE Beverage’s offering materials.
19          198. Rose, Shelby and Dirden indirectly offered and sold SHE Beverage
20    securities. Each was a substantial factor and a necessary participant in the SHE
21    Beverage stock sales.
22                               FIRST CLAIM FOR RELIEF
23            Fraud in the Connection with the Purchase and Sale of Securities
24             Violations of Section 10(b) of the Exchange Act and Rule 10b-5
25                                  (against all Defendants)
26          199. The SEC realleges and incorporates by reference paragraphs 1 through
27    198 above.
28          200. Defendants SHE Beverage, Rose, Shelby and Dirden carried out a
       COMPLAINT                                   24
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 1 fraudulent offering and made material misrepresentations and omissions to
 2 prospective and actual investors. Touting SHE Beverage as a successful beverage
 3 company, Defendants concealed that minimal funds were spent to purchase
 4 inventory, while Rose, Shelby and Dirden funneled investor monies to their personal
 5 expenses and withdrew it in cash. Defendants overstated and mischaracterized the
 6 company’s revenues and their own investments in the company; advertised offers to
 7 buy the company they had never received; and falsely portrayed the company’s
 8 products and the imminence of its IPO, all in an effort to continue bringing in
 9 investor monies that they spent in ways that were never disclosed to investors.
10          201. By engaging in the conduct described above, Defendants SHE Beverage,
11    Rose, Shelby and Dirden, and each of them, have, directly or indirectly, in connection
12    with the purchase or sale of a security, by the use of means or instrumentalities of
13    interstate commerce, of the mails, or of the facilities of a national securities
14    exchange: (a) employed devices, schemes, or artifices to defraud; (b) made untrue
15    statements of a material fact or omitted to state a material fact necessary in order to
16    make the statements made, in the light of the circumstances under which they were
17    made, not misleading; and (c) engaged in acts, practices, or courses of business which
18    operated or would operate as a fraud or deceit upon other persons.
19          202. Defendants SHE Beverage, Rose, Shelby and Dirden have, with scienter,
20    employed devices, schemes and artifices to defraud; made untrue statements of a
21    material fact or omitted to state a material fact necessary in order to make the
22    statements made, in the light of the circumstances under which they were made, not
23    misleading; and engaged in acts, practices or courses of conduct that operated as a
24    fraud on the investing public by the conduct described in detail above.
25          203. By engaging in the conduct described above, Defendants SHE Beverage,
26    Rose, Shelby and Dirden have violated, and unless restrained and enjoined will
27    continue to violate, Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rules
28    10b-5(a), 10b-5(b), and 10b-5(c) thereunder, 17 C.F.R. §§ 240.10b-5(a), 240.10b-5(b)
       COMPLAINT                                     25
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 1 & 240.10b-5(c).
 2                              SECOND CLAIM FOR RELIEF
 3                          Fraud in the Offer or Sale of Securities
 4                      Violations of Section 17(a) of the Securities Act
 5                                   (against all Defendants)
 6          204. The SEC realleges and incorporates by reference paragraphs 1 through
 7 198 above.
 8          205. Defendants SHE Beverage, Rose, Shelby and Dirden carried out a
 9 fraudulent offering and made material misrepresentations and omissions to
10    prospective and actual investors. Touting SHE Beverage as a successful beverage
11    company, Defendants concealed that minimal funds were spent to purchase
12    inventory, while Rose, Shelby and Dirden funneled investor monies to their personal
13    expenses and withdrew it in cash. Defendants overstated and mischaracterized the
14    company’s revenues and their own investments in the company; advertised offers to
15    buy the company they had never received; and falsely portrayed the company’s
16    products and the imminence of its IPO, all in an effort to continue bringing in
17    investor monies that they spent in ways that were never disclosed to investors.
18          206. By engaging in the conduct described above, Defendants SHE Beverage,
19    Rose, Shelby and Dirden, and each of them, have, directly or indirectly, in the offer
20    or sale of securities, and by the use of means or instruments of transportation or
21    communication in interstate commerce or by use of the mails directly or indirectly:
22    (a) employed devices, schemes, or artifices to defraud; (b) obtained money or
23    property by means of untrue statements of a material fact or by omitting to state a
24    material fact necessary in order to make the statements made, in light of the
25    circumstances under which they were made, not misleading; and (c) engaged in
26    transactions, practices, or courses of business which operated or would operate as a
27    fraud or deceit upon the purchaser.
28          207. Defendants SHE Beverage, Rose, Shelby and Dirden, with scienter,
       COMPLAINT                                   26
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 1 employed devices, schemes and artifices to defraud; with scienter or negligence,
 2 obtained money or property by means of untrue statements of a material fact or by
 3 omitting to state a material fact necessary in order to make the statements made, in
 4 light of the circumstances under which they were made, not misleading; and, with
 5 scienter or negligence, engaged in transactions, practices, or courses of business
 6 which operated or would operate as a fraud or deceit upon the purchaser.
 7          208. By engaging in the conduct described above, Defendants SHE Beverage,
 8 Rose, Shelby and Dirden have violated, and unless restrained and enjoined will
 9 continue to violate, Sections 17(a)(1), 17(a)(2), and 17(a)(3) of the Securities Act, 15
10    U.S.C. §§ 77q(a)(1), 77q(a)(2), & 77q(a)(3).
11                               THIRD CLAIM FOR RELIEF
12                         Unregistered Offer and Sale of Securities
13                 Violations of Sections 5(a) and 5(c) of the Securities Act
14                                   (against all Defendants)
15          209. The SEC realleges and incorporates by reference paragraphs 1 through
16    198 above.
17          210. Defendants’ offers and sale of SHE Beverage’s stock were never
18    registered with the SEC, nor were they subject to any exemption from registration.
19    Defendants engaged in a nationwide offering using general solicitation; sold to
20    unaccredited investors; and took no steps to verify the sophistication or accreditation
21    status of prospective investors. Defendants directly offered and sold SHE Beverage’s
22    stock and Defendants Rose, Shelby and Dirden also indirectly offered and sold the
23    company’s stock, as each was a necessary participant and a substantial factor in the
24    company’s millions of dollars in stock sales to its thousands of investors.
25          211. By engaging in the conduct described above, Defendants SHE Beverage,
26    Rose, Shelby and Dirden, and each of them, directly or indirectly, singly and in
27    concert with others, have made use of the means or instruments of transportation or
28    communication in interstate commerce, or of the mails, to offer to sell or to sell
       COMPLAINT                                    27
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 1 securities, or carried or caused to be carried through the mails or in interstate
 2 commerce, by means or instruments of transportation, securities for the purpose of
 3 sale or for delivery after sale, when no registration statement had been filed or was in
 4 effect as to such securities, and when no exemption from registration was applicable.
 5          212. By engaging in the conduct described above, Defendants SHE Beverage,
 6 Rose, Shelby and Dirden have violated, and unless restrained and enjoined, are
 7 reasonably likely to continue to violate, Sections 5(a) and 5(c), 15 U.S.C. §§ 77e(a) &
 8 77e(c).
 9                                  PRAYER FOR RELIEF
10          WHEREFORE, the SEC respectfully requests that the Court:
11                                              I.
12          Issue findings of fact and conclusions of law that Defendants committed the
13    alleged violations.
14                                              II.
15          Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of
16    Civil Procedure, permanently enjoining Defendants SHE Beverage, Rose, Shelby and
17    Dirden, and their officers, agents, servants, employees and attorneys, and those
18    persons in active concert or participation with any of them, who receive actual notice
19    of the judgment by personal service or otherwise, and each of them, from violating
20    Securities Act Section 17(a) [15 U.S.C. §77q(a)], and Exchange Act Section 10(b)
21    [15 U.S.C. §§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].
22                                             III.
23          Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of
24    Civil Procedure, permanently enjoining Defendants SHE Beverage, Rose, Shelby and
25    Dirden, and their officers, agents, servants, employees and attorneys, and those
26    persons in active concert or participation with any of them, who receive actual notice
27    of the judgment by personal service or otherwise, and each of them, from violating
28    Sections 5(a) and 5(c) of the Securities Act [15 U.S.C. §§ 77e(a), 77e(c)].
       COMPLAINT                                      28
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 1                                               IV.
 2          Order Defendants to disgorge all funds received from their illegal conduct,
 3 together with prejudgment interest thereon.
 4                                                V.
 5          Order Defendants to pay civil penalties under Section 20(d) of the Securities
 6 Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. §
 7 78u(d)(3)].
 8                                               VI.
 9          Enter an order against Defendants Rose, Shelby and Dirden, pursuant to
10    Sections 20(e) of the Securities Act, 15 U.S.C. § 77t(e) and Sections 2l(d)(2) of the
11    Exchange Act, 15 U.S.C. § 78u(d)(2), prohibiting each of them from acting as an
12    officer or director of any issuer that has a class of securities registered pursuant to
13    Section 12 of the Exchange Act, 15 U.S.C. § 781 or that is required to file reports
14    pursuant to Section 15(d) of the Exchange Act, 15 U.S.C. § 78o(d).
15                                               VII.
16          Retain jurisdiction of this action in accordance with the principles of equity and
17    the Federal Rules of Civil Procedure in order to implement and carry out the terms of
18    all orders and decrees that may be entered, or to entertain any suitable application or
19    motion for additional relief within the jurisdiction of this Court.
20                                              VIII.
21          Grant such other and further relief as this Court may determine to be just and
22    necessary.
23     Dated: September 14, 2021
24                                                     /s/ Amy Jane Longo
25                                                     Amy Jane Longo
                                                       Janet Rich Weissman
26                                                     Attorneys for Plaintiff
27                                                     Securities and Exchange Commission
28
       COMPLAINT                                       29
